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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS
PRICING ANTITRUST LITIGATION                       MDL NO. 2724

                                                   16-MD-2724
THIS DOCUMENT RELATES TO:
ALL ACTIONS
                                                   HON. CYNTHIA M. RUFE


                         JOINT PROPOSED AGENDA FOR
                 MAY 14, 2020 LEADERSHIP STATUS CONFERENCE

        Pursuant to Pretrial Order No. 124 (MDL Doc. No. 1364), Liaison Counsel hereby

submit this proposed agenda of items to be brought before the Court via videoconference at the

Leadership Status Conference scheduled for May 14, 2020, at 1:30 pm:

   1.      Status of Revised Case Management Order Negotiations

   2.      Status of Bellwether R&R Briefing

   3.      Timing of the States’ Next Complaint

   4.      Schedule for Future Conferences

Dated: May 11, 2020                               Respectfully submitted:

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